    Case 1:23-cv-00228-MMB    Document 47      Filed 12/19/24   Page 1 of 21




     IN THE UNITED STATES COURT OF INTERNATIONAL TRADE
       BEFORE: THE HONORABLE M. MILLER BAKER, JUDGE
______________________________________________
                                                       )
TRINA SOLAR (VIETNAM) SCIENCE &                        )
TECHNOLOGY CO., LTD., TRINA SOLAR                      )
ENERGY DEVELOPMENT COMPANY LIMITED,                    )
and TRINA SOLAR CO., LTD.,                             )
                                                       )
                       Plaintiffs,                     )
                                                       )
                and,                                   )
                                                       )
FLORIDA POWER & LIGHT COMPANY,                         )
                                                       )
                       Plaintiff-Intervenor,           )
                                                       )   Ct. No. 23-00228
                v.                                     )
                                                       )
UNITED STATES                                          )
                                                       )
                       Defendant,                      )
                                                       )
                and,                                   )
                                                       )
AUXIN SOLAR INC. and FIRST SOLAR                       )
VIETNAM MANUFACTURING CO. LTD.,                        )
                                                       )
                       Defendant-Intervenors.          )
______________________________________________ )

       REPLY BRIEF OF PLAINTIFFS TRINA SOLAR (VIETNAM)
           SCIENCE & TECHNOLOGY CO., LTD., ET AL.

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    Case 1:23-cv-00228-MMB      Document 47      Filed 12/19/24   Page 2 of 21




     IN THE UNITED STATES COURT OF INTERNATIONAL TRADE
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                                                         )
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                  and,                                   )
                                                         )
FLORIDA POWER & LIGHT COMPANY,                           )
                                                         )
                         Plaintiff-Intervenor,           )
                                                         )   Ct. No. 23-00228
                  v.                                     )
                                                         )
UNITED STATES                                            )
                                                         )
                         Defendant,                      )
                                                         )
                  and,                                   )
                                                         )
AUXIN SOLAR INC. and FIRST SOLAR                         )
VIETNAM MANUFACTURING CO. LTD.,                          )
                                                         )
                         Defendant-Intervenors.          )
______________________________________________ )

                       CERTIFICATE OF COMPLIANCE

      The undersigned counsel at Trade Pacific PLLC hereby certifies that

the Reply Brief of Plaintiffs Trina Solar (Vietnam) Science & Technology Co.,

Ltd., et al., dated December 19, 2024, complies with the word-count limitation

described in the Second Amended Scheduling Order. The reply brief contains
    Case 1:23-cv-00228-MMB     Document 47     Filed 12/19/24   Page 3 of 21

Court No. 23-00228                                                      Page 2

3,221 words according to the word-count function of the word-processing

software used to prepare the brief.


                                      Respectfully submitted,

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Dated: December 19, 2024
       Case 1:23-cv-00228-MMB               Document 47           Filed 12/19/24         Page 4 of 21




                                      TABLE OF CONTENTS

                                                                                                         Page

TABLE OF AUTHORITIES ................................................................................ ii

I.      INTRODUCTION ...................................................................................... 1

II.     ARGUMENT .............................................................................................. 3

                A.       Defendant Fails to Demonstrate How Commerce’s Illogical
                         Conclusion Under its Process of Assembly or Completion
                         Analysis is Supported by Substantial Evidence .................. 3

                B.       Substantial Evidence and the Applicable Statutory
                         Frameworks Do Not Support Commerce’s Country-Wide
                         Application of AFA ................................................................. 7

                     1. Evidence Submitted in Support of Auxin’s Allegation Does
                        Not Support a Country-Wide Finding of Circumvention .... 9

                     2. "All Others" Rate Calculations Are Inapplicable to
                        Circumvention Proceedings ................................................. 11

III.    CONCLUSION ......................................................................................... 15




                                                       i
       Case 1:23-cv-00228-MMB                   Document 47             Filed 12/19/24           Page 5 of 21




                                       TABLE OF AUTHORITIES

                                                                                                                   Page
Cases

Coalition of Am. Flange Producers v. United States, 517 F. Supp. 3d 1378 (Ct.
 Int’l Trade 2021) ............................................................................................... 7

Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co.,
 463 U.S. 29 (1983). ........................................................................................... 7

PrimeSource Bldg. Prod., Inc. v. United States, 111 F.4th 1320 (Fed. Cir.
  2024) ................................................................................................................ 13

Tai-Ao Aluminum (Taishan) Co., Ltd. v. United States, 983 F.3d 487 (Fed.
 Cir. 2020)......................................................................................................... 13


Statutes

19 U.S.C. § 1673d(c)(5) ................................................................................ 11–14
19 U.S.C. § 1677j(b) ..................................................................................... 12, 14
19 U.S.C. § 1677j(b)(1) ................................................................................... 3, 11
19 U.S.C. § 1677j(b)(2) ................................................................................. 2–5, 7
19 U.S.C. § 1677e(a) ....................................................................................... 8, 14
19 U.S.C. § 1677e(b)(1) ...................................................................................... 14

Regulations

19 C.F.R. § 351.226(m)(ii),(iii) ..................................................................... 12, 14

Administrative Determinations

Antidumping and Countervailing Duty Orders on Crystalline Silicon
 Photovoltaic Cells, Whether or Not Assembled Into Modules, from the
 People’s Republic of China: Preliminary Affirmative Determinations of
 Circumvention with Respect to Cambodia, Malaysia, Thailand, and
 Vietnam, 87 Fed. Reg. 75221 (Dec. 8, 2022), ................................................... 5


                                                            ii
       Case 1:23-cv-00228-MMB                  Document 47             Filed 12/19/24           Page 6 of 21




Antidumping and Countervailing Duty Orders on Crystalline Silicon
 Photovoltaic Cells, Whether or Not Assembled Into Modules, from the
 People’s Republic of China, 88 Fed. Reg. 57,419 (Dep't Commerce Aug. 23,
 2023) .......................................................................................................... 1, 5, 8




                                                           iii
     Case 1:23-cv-00228-MMB     Document 47     Filed 12/19/24   Page 7 of 21

Ct. No. 23-00228                                                      Reply Brief


                 REPLY BRIEF OF PLAINTIFFS
        TRINA SOLAR (VIETNAM) SCIENCE & TECHNOLOGY
           COMPANY LIMITED, TRINA SOLAR ENERGY
       DEVELOPMENT COMPANY LIMITED, AND TRINA SOLAR
                      COMPANY LIMITED

I.    INTRODUCTION

      Plaintiffs Trina Solar (Vietnam) Science & Technology Co. Ltd., Trina

Solar Energy Development Co., Ltd., and Trina Solar Co., Ltd. (collectively,

“Trina” or “Plaintiffs”) submit this brief in reply to the October 21, 2024,

response brief filed by Defendant, the United States. See Def. Resp to Pls.

and Pls. Intv. Rule 56.2 Mot. J. Upon Agency. R., ECF No. 44 (Oct. 21, 2024)

(“Def. Resp. Br.”). Plaintiffs contest two aspects of the U.S. Department of

Commerce’s (“Commerce”) final affirmative determination of circumvention of

the antidumping and countervailing duty orders on Crystalline Silicon

Photovoltaic Cells, Whether or Not Assembled into Modules, from the People’s

Republic of China. See Pl’s. Rule 56.2 Mot. J. Agency R., ECF No. 42 (June

26, 2024) (“Pl. Br.”), see also Antidumping and Countervailing Duty Orders

on Crystalline Silicon Photovoltaic Cells, Whether or Not Assembled Into

Modules, from the People’s Republic of China: Final Scope Determination and

Final Affirmative Determinations of Circumvention with Respect to

Cambodia, Malaysia, Thailand, and Vietnam, 88 Fed. Reg. 57,419 (Aug. 23,

2023), P.R. 751, Appx1216–1230 (“Final Determination”), and accompanying

Issues and Decision Memorandum for the Circumvention Inquiry with


                                        1
    Case 1:23-cv-00228-MMB     Document 47     Filed 12/19/24   Page 8 of 21

Ct. No. 23-00228                                                     Reply Brief


Respect to the Socialist Republic of Vietnam, (Dep’t of Commerce Aug. 17,

2023), P.R. 749, Appx1050–1215 (“Decision Memo”).

      In its response brief, Defendant mischaracterizes the crux of Plaintiffs’

argument concerning Commerce’s illogical findings under the “minor or

insignificant” factors of 19 U.S.C. § 1677j(b)(2). That is, Commerce failed to

explain how its finding on the significant nature of the CSPV cell and module

production process, which requires “sophisticated, precise, and

technologically advanced equipment,” can be reconciled with its overall

conclusion that the process of assembly or completion in Vietnam is “minor or

insignificant.” Decision Memo, Appx1093-1094. Defendant fails to respond

substantively to this contention. Instead, Defendant asserts that Plaintiffs

are proposing a “novel statutory interpretation” which asks Commerce to

base its decision on a single factor. Def Resp. Br., at 17–18. In doing so,

Defendant ignores that Commerce unlawfully weighed the statutory factors,

when substantial evidence demonstrates that the process of assembly or

completion under § 1677j(b)(2) is significant in Vietnam.

      Second, in asserting that Commerce’s adverse facts available (“AFA”)

based affirmative finding of circumvention on a country-wide basis was

supported by substantial evidence, Defendant analogizes to cases and

Commerce prior practice of calculating an “all-others” rate for non-examined

companies in antidumping proceedings. Def. Resp. Br., at 19–28. Yet,

                                       2
      Case 1:23-cv-00228-MMB     Document 47     Filed 12/19/24   Page 9 of 21

Ct. No. 23-00228                                                      Reply Brief


Defendant fails to consider the practical differences raised here in a

circumvention inquiry, for which no dumping margin is being calculated.

Where one mandatory respondent receives a negative finding of

circumvention based on the required statutory analysis under § 1677j(b)(1),

and the other respondent receives an affirmative finding of circumvention

based on the application of AFA, neither substantial evidence nor the

circumvention and AFA statutory frameworks support Commerce’s decision

to extend this AFA affirmative finding to all non-examined producers and

exporters of inquiry merchandise across Vietnam.

       For the reasons below, the Court must remand to Commerce with

instructions to reverse the challenged determination in accordance with the

Court’s findings.

II.    ARGUMENT

       A.    Defendant Fails to Demonstrate How Commerce’s Illogical
             Conclusion under its Process of Assembly or Completion Analysis
             is Supported By Substantial Evidence

       At pages 18 to 28 of Plaintiffs’ opening brief, Plaintiffs explained that

Commerce, when evaluating the nature of the production process under 19

U.S.C. § 1677j(b)(2)(C), reconfirmed in these inquiries that crystalline

photovoltaic (“CSPV”) cell and module manufacturing (including the

formation of the p/n junction) are major, complex manufacturing processes

that do not amount to minor or insignificant processing. Pl. Br., at 18–19,

                                         3
    Case 1:23-cv-00228-MMB     Document 47    Filed 12/19/24   Page 10 of 21

Ct. No. 23-00228                                                    Reply Brief


citing Decision Memo at 41–45, Appx1090–Appx1094. Plaintiffs explained

that Commerce made numerous key findings on the complex and extensive

nature of CSPV cell production through its comparison to the production of

upstream ingots and wafers. Id., at 23–24, citing Decision Memo at 43–44,

Appx1092–Appx1093. Commerce found that greater technology was required

to produce solar cells than to produce ingots, and that cell and module

production required significantly more manufacturing steps and skilled labor.

Id. It also explained that CSPV cell and module production requires over 100

different inputs, “whereas converting polysilicon into wafers only involves a

handful of inputs.” Id., citing Decision Memo at 44, Appx1093. In addition,

Commerce found that:

      solar cell production requires sophisticated, precise and advanced
      automation equipment, and solar module production requires
      highly automated machinery and accurate quality-testing
      requirement at multiple stages. Meanwhile, the IAE Report
      indicates that ingot production uses simpler, more conventional
      equipment. Therefore, producing solar cells and modules in the
      inquiry country involves a multi-step production process that
      requires more precise and sophisticated equipment at multiple
      stages compared to producing ingots and wafers in China.

Id., (internal quotations omitted).

      Overall, as argued by Plaintiffs, Commerce’s findings with regard to

the nature of processing factor under § 1677j(b)(2)(C) logically compel a

negative determination as to whether cell and module production is minor

processing. Yet, Defendant fails to explain how Commerce’s findings with

                                       4
    Case 1:23-cv-00228-MMB      Document 47      Filed 12/19/24   Page 11 of 21

Ct. No. 23-00228                                                        Reply Brief


regard to the nature of processing factor could reasonably support the

conclusion that cell and module production is minor processing. Instead,

Defendant mischaracterizes, and altogether avoids, the critical argument

raised by Plaintiffs. Defendant simply asserts that the nature of the

production process should not “take precedence” over the other factors, Def.

Resp. Br, at 18, and that Commerce cannot “disregard” the other four factors

under 19 U.S.C. § 1677j(b)(2). Id., at 19. However, Commerce’s findings

regarding the “nature of the production process factor” were so clear and

compelling, that they necessarily implicate its findings under the other four

statutory factors. Pl. Br., at 23.

      While Commerce made company-specific findings1 for the other four

statutory factors under 19 U.S.C. § 1677j(b)(2), Commerce findings on the

“nature of production process” applied broadly to all CSPV cell and module

producers in all four segments of the circumvention proceeding. Yet, when



      1 Commerce preliminary determined that three out of the five “minor or

insignificant” statutory factors under 19 U.S.C. § 1677j(b)(2) weighed in favor of
finding circumvention for Vina: level of investment, extent of production facilities,
and level of research and development. Antidumping and Countervailing Duty
Orders on Crystalline Silicon Photovoltaic Cells, Whether or Not Assembled Into
Modules, from the People’s Republic of China: Preliminary Affirmative
Determinations of Circumvention with Respect to Cambodia, Malaysia, Thailand,
and Vietnam, 87 Fed. Reg. 75221 (Dec. 8, 2022) (“Prelim. Determination”),
Appx1031-Appx1041, and accompanying preliminary decision memorandum (Dec. 1,
2022) at 16–22, Appx1015–Appx1021. Yet, in the Final Determination, Commerce
broadly applied AFA to Vina based on its non-cooperation of on-site verification.
Final Determination, at 57420, Appx1217.


                                         5
    Case 1:23-cv-00228-MMB      Document 47     Filed 12/19/24   Page 12 of 21

Ct. No. 23-00228                                                      Reply Brief


Commerce analyzed the company-specific findings under the other four

factors, it failed to consider the specific findings it made for the industry and

production process as a whole under the “nature of the production process”

factor. For example, one cannot reasonably conclude that the level of

investment for the production of solar CSPV cells and modules could be

“insignificant,” when Commerce found that CSPV cell and module production

requires “a fully integrated, multi-step manufacturing line with equipment to

perform multiple processes. . . {e}ach of these processes requires one or more

uniquely designed and calibrated machines to advance the wafer from a

commodity product to a finished cell.” Decision Memo, at 43, Appx1092.

Similarly, Commerce cannot reasonably find that the “extent of production

facilities” is “insignificant” but also find that the production of CSPV cells

and modules requires hundreds of workers, multiple steps and stages, and

several different types of machinery. Id. Those findings indicate that CSPV

cell and module production facilities required to complete such production

necessarily are significant. Id., at 44, Appx1093. Finally, Commerce’s

finding that the level of research and development is “insignificant” is

incongruent with its finding that cell and module producers must “regularly

upgrade{ } production lines to avoid becoming obsolete,” which supports its

conclusion that the nature of the production process is significant. Id., at 43,

Appx1092.

                                        6
    Case 1:23-cv-00228-MMB    Document 47     Filed 12/19/24   Page 13 of 21

Ct. No. 23-00228                                                    Reply Brief


      It is not surprising that Commerce has never before reached an

affirmative finding of circumvention when it also found that the nature of the

production process was significant. As articulated by Plaintiffs, the

circumvention statute and accompanying regulations were not designed to

address manufacturing activity involving significant, extensive, and

technologically advanced production steps. Pl. Br., at 23. By contorting the

circumvention statute to apply to CSPV cell and module production,

Commerce, unsurprisingly, is left with irrational and contradictory

conclusions that render its determination lacking a basis in substantial

evidence.

      In sum, Commerce’s determination to ignore the conclusions compelled

by its finding under §1677j(b)(2)(C) cannot be sustained, especially here

where Commerce and Defendant have failed to provide any rational

connection between the nature of processing finding and the overall

determination. See Coalition of Am. Flange Producers v. United States, 517

F. Supp. 3d 1378, 1381 (Ct. Int’l Trade 2021) (citing Motor Vehicles Mfrs.

Ass’n v. State Farm Mut. Auto. Ins. Co., 463 U.S. 29, 43 (1983)).


      B.    Substantial Evidence and the Applicable Statutory Frameworks
            Do Not Support Commerce’s Country-Wide Application of AFA

      In the Final Determination, Commerce reached a negative finding of

circumvention as to Boviet Solar Technology Co., Ltd. (“Boviet”), one of the

                                       7
    Case 1:23-cv-00228-MMB     Document 47     Filed 12/19/24   Page 14 of 21

Ct. No. 23-00228                                                     Reply Brief


two mandatory respondents. Decision Memo, at 1, Appx1050. Based on the

application of AFA under 19 U.S.C. § 1677e(a), Commerce reached an

affirmative finding of circumvention as to the other mandatory respondent,

Vina Solar Technology Company Limited (“Vina”), and to seven other

companies2 which did not respond to Commerce’s quantity and value (“Q&V”)

questionnaire. Id., Appx1100-1102. Despite reaching a negative finding of

circumvention for one mandatory respondent, and an affirmative finding of

circumvention for the other based on AFA, Commerce extended its

affirmative finding of circumvention as to all producers and exporters of

inquiry merchandise in Vietnam, i.e., on a “country-wide” basis. Id.,

Appx1090.

      Defendant argues that Commerce’s affirmative finding of

circumvention, based on the application of AFA, for the entire country of

Vietnam was supported by substantial evidence. Def. Resp. Br., at 19–26.

Defendant asserts that evidence contained in the Auxin Solar Inc. (“Auxin”)


      2 In the Final Determination, Commerce applied AFA to nine companies in

total, including Vina and eight other companies that did not timely respond to
Commerce’s Q&V questionnaire. Final Determination, 88 Fed. Reg. at 57425.
Based on Commerce’s recently published amended final determination, Red Sun
Energy Long An Company Limited has since been removed from the list of
companies receiving AFA. See Antidumping and Countervailing Duty Orders on
Crystalline Silicon Photovoltaic Cells, Whether or Not Assembled Into Modules,
From the People’s Republic of China: Notice of Amended Final Affirmative
Determination of Circumvention Pursuant to Settlement Agreement, 89 Fed. Reg.
88969 (Nov. 12, 2024).


                                        8
    Case 1:23-cv-00228-MMB    Document 47     Filed 12/19/24   Page 15 of 21

Ct. No. 23-00228                                                    Reply Brief


allegation should “end the Court’s inquiry” because it was sufficient to

support Commerce’s decision to apply its affirmative circumvention finding

on a country-wide basis. Def. Resp. Br., at 20–22. Defendant repeatedly, and

wrongly, asserts that such evidence was not “rebutted” and was

“uncontroverted” on the record. Def Resp. Br., at 13, 20, 27. Finally, in

analogizing to Commerce’s methodology for calculating dumping margins for

non-examined companies in antidumping proceedings, Defendant asserts

that the same “presumption of representativeness” from the selection of

mandatory respondents should also apply here in circumvention proceedings.

Def. Resp. Br., at 26–27.

            1.     Evidence Submitted in Support of Auxin’s Allegation Does
                   Not Support a Country-Wide Finding of Circumvention

      As an initial matter, Defendant mischaracterizes the record evidence

underlying Auxin’s circumvention allegation as “uncontroverted” and

“unrebutted.” Def Resp. Br., at 13, 20, 27. The record citations provided by

Defendant cite to news articles and investor disclosures, for which Auxin

claims “appear” to support a finding of circumventing activity in Vietnam.

See Letter from Auxin Solar Inc., “Auxin Solar Placing Petition on Record,”

(Feb. 18, 2022), at 35, Appx1273. However, the record also contains

voluminous factual information submitted by interested parties which

rebutted, clarified, and corrected the information submitted by Auxin in



                                       9
    Case 1:23-cv-00228-MMB     Document 47      Filed 12/19/24   Page 16 of 21

Ct. No. 23-00228                                                      Reply Brief


support of its allegation.3 Accordingly, Defendant is incorrect to assert that

such evidence is “unrebutted” or “uncontroverted,” Def. Resp. Br., at 12, 20,

27, because record evidence submitted by interested parties and mandatory

respondent data from Boviet directly contradict these allegations.

      Notwithstanding that such evidence was rebutted, Defendant falsely

equates type types of evidence: (1) the evidence in support of an allegation,

submitted to support the initiation of an inquiry to (2) evidence in support of

expanding an affirmative finding of circumvention to all companies and

producers in Vietnam. In other words, Defendant posits that because Auxin’s

allegation included generalized evidence of manufacturing activity expanding

to Vietnam, Commerce’s decision to extend its affirmative circumvention on a

country-wide basis, and not its negative circumvention decision, is supported

by record evidence. Def. Resp. Br., at 22–25.




      3 See Letter from NextEra Energy Constructors, LLC and Florida Power &

Light Company, “Response to Auxin’s March 21, 2022 Letter Regarding Recent
Imports of CSPV Cells and Modules,” (Mar. 22, 2022), Appx13542–13578; Letter
from Canadian Solar, “Response to Initiation of Circumvention Inquiries,” (May 2,
2022), Appx3803–4092 (responding to “rebut, clarify, and correct allegations” made
by Auxin); Letter from Trina Solar (Vietnam) Science & Technology Co., Ltd. and
Trina Solar Science & Technology (Thailand) Co., Ltd., “Trina’s Comments on
Auxin’s Circumvention Inquiry Request and Factual Information Submission to
Rebut, Clarify, or Correct Factual Information Contained in Auxin’s Request,” (May
2, 2022), Appx4246–4409.



                                       10
    Case 1:23-cv-00228-MMB      Document 47    Filed 12/19/24   Page 17 of 21

Ct. No. 23-00228                                                     Reply Brief


      This reasoning is flawed. While the evidence supporting Auxin’s

allegation arguably may have been enough for Commerce to initiate the

circumvention inquiry on a country-wide basis, it cannot form the basis for

Commerce’s justification to extend an affirmative AFA-based finding of

circumvention to all cooperative parties in a single country. None of the news

articles or investor reports submitted by Auxin in support of its allegation,

see Def. Br., at 21, are sufficient to conclude that the required statutory

elements of circumvention under 19 U.S.C. § 1677j(b)(1) are satisfied. If the

evidence supporting the initiation of the inquiry were sufficient to support a

country-wide finding of circumvention, then Commerce did not need to spend

over 500 days investigating whether there was circumvention by minor

processing, if that same evidence in the allegation could have compelled an

affirmative finding as to Boviet. It follows then that the allegation evidence

cannot be used as the basis for expanding an affirmative AFA-based

circumvention finding to a whole country, if such evidence is not sufficient to

independently establish circumvention under the required statutory factors

of § 1677j(b)(1).

             2.     “All-Others” Rate Calculations are Inapplicable to
                    Circumvention Proceedings

      In antidumping proceedings, 19 U.S.C. § 1673d(c)(5) requires

Commerce to calculate an “all others” rate for non-examined companies using



                                       11
    Case 1:23-cv-00228-MMB     Document 47    Filed 12/19/24   Page 18 of 21

Ct. No. 23-00228                                                    Reply Brief


a weighted average of the estimated weighted average dumping margins

established for companies individually investigated. Commerce is required to

exclude any zero and de minimis margins and margins based on AFA in

making such “all others” calculations. § 1673d(c)(5)(A). Further, if all the

weighted average dumping margins established for individually examined

companies are de minimis or based on AFA, the statute empowers Commerce

to use any reasonable method for calculating the all-others rate for non-

examined companies. § 1673d(c)(5)(B) (emphasis added).

      In contrast, the circumvention statutory framework under 19 U.S.C. §

1677j(b) does not similarly empower Commerce to apply determinations to

non-examined companies using any reasonable method. While Commerce’s

regulations provide that Commerce “may” consider—based on record

evidence—an appropriate remedy to address circumvention, which “may

include” applying its determination on a country-wide basis, neither the

statute nor regulations require Commerce to issue a circumvention decision

on a country-wide basis. 19 C.F.R. § 351.226(m)(ii), (iii). Indeed, Commerce

has discretion when conducting circumvention inquiries to select an

appropriate remedy, providing that such a remedy is based on substantial

evidence. Id.

      However, Commerce is not calculating dumping margins in any

circumvention proceeding; rather, it is determining whether to expand the

                                      12
    Case 1:23-cv-00228-MMB     Document 47     Filed 12/19/24   Page 19 of 21

Ct. No. 23-00228                                                     Reply Brief


scope of an existing order to include, in some cases, the exporting activity of

an entire country. See Tai-Ao Aluminum (Taishan) Co., Ltd. v. United States,

983 F.3d 487, 490 (Fed. Cir. 2020). In this sense, circumvention proceedings

present an “all or nothing” scenario because Commerce is reaching a “yes” or

“no” decision. Accordingly, Commerce cannot analogize to its methodology for

calculating an average “all-other” rate in antidumping proceedings, because

no averages can be determined for yes-or-no circumvention determinations.

      Defendant repeatedly and improperly relies on PrimeSource as

authority for Commerce’s decision to apply its circumvention AFA finding to

all producers and exporters from Vietnam. Def. Br., at 16, 17, 27, 28 (citing

PrimeSource Bldg. Prod., Inc. v. United States, 111 F.4th 1320 (Fed. Cir.

2024). Yet, this case considered Commerce’s decision to calculate an “all-

others” rate when both mandatory respondents received rates based on AFA.

Id. In PrimeSource, the statutory provision at issue, 19 U.S.C. §

1673d(c)(5)(B), empowers Commerce to determine a reasonable method for

calculating rates for non-examined companies and specifically authorizes

Commerce to use “the estimated weighted average dumping margins

determined for the exporters and producers individually investigated” that

were determined based on AFA. The CAFC determined that Commerce’s

calculated method was reasonable and in accordance with the statute. 111

F.4th at 1329 (referring to Commerce’s “statutory mandate”).

                                       13
    Case 1:23-cv-00228-MMB      Document 47     Filed 12/19/24    Page 20 of 21

Ct. No. 23-00228                                                       Reply Brief


      Again, the circumvention framework under 19 U.S.C. § 1677j(b) does

not empower Commerce to attribute AFA to cooperative parties; rather, only

in antidumping proceedings, under § 1673d(c)(5)(B), does Commerce have

that authority. The authorities granted to Commerce through those two

statutory provisions are different. Accordingly, PrimeSource is not

informative here, where the circumvention framework provides no guidance

to Commerce on how to assign circumvention determinations to un-examined

companies. Instead, Commerce may, based on substantial evidence, select an

appropriate remedy pursuant to 19 C.F.R. § 351.226(m).

      Here, because one mandatory respondent was found not to be

circumventing based on available record evidence, and the other mandatory

respondent was found to be circumventing based on the application of AFA

under 19 U.S.C. § 1677(e)(a), Commerce cannot point to which substantial

evidence on the record supports its determination to extend its AFA decision

to all cooperative parties. As Plaintiffs demonstrated previously, Auxin’s

allegation evidence cannot be the basis for such a determination. Further,

the AFA statute does not permit Commerce to extend its AFA decision to

cooperative un-examined parties. As Plaintiffs argued in their opening case

brief, the AFA statute involves a two-step process, in which Commerce must

also find that “an interested party has failed to cooperate by not acting to the

best of its ability.” See Pl. Br., at 30–31 (citing 19 U.S.C. § 1677e(b)(1)).

                                        14
       Case 1:23-cv-00228-MMB   Document 47     Filed 12/19/24   Page 21 of 21

Ct. No. 23-00228                                                      Reply Brief


Commerce never made that required finding as to the cooperative, un-

examined parties in this circumvention proceeding.

        Accordingly, Commerce’s decision to extend its AFA findings for Vina

and the seven companies which failed to provide a response to the Q&V

questionnaires is neither supported by substantial evidence, nor in

accordance with the circumvention and AFA statutory frameworks.

III.    CONCLUSION

        For the foregoing reasons, Plaintiffs respectfully request that the Court

grant its Motion for Judgment on the Agency Record and remand this case to

Commerce with instructions consistent with the points set forth in this

Memorandum.

                                      Respectfully submitted,

                                      /s/ Jonathan M. Freed
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